   Case 6:16-cv-06293-FPG-MWP Document 53-11 Filed 05/03/19 Page 1 of 2



UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

RICHARD EDELMANN,

                                  Plaintiff,
          v.                                    Index No.: 6:16-cv-06293


KEUKA COLLEGE,

                                Defendant.




           PLAINTIFF’S REPLY TO DEFENDANT’S LOCAL RULE 56
                    COUNTERSTATEMENT OF FACTS




                                          THE GLENNON LAW FIRM, P.C.
                                          Peter J. Glennon, Esq.
                                          Laura K. Figueras, Esq.
                                          Attorneys for Plaintiff
                                          160 Linden Oaks
                                          Rochester, New York 14625
                                          (585) 210-2150
                                          PGlennon@GlennonLawFirm.com
                                          LFigueras@GlennonLawFirm.com
    Case 6:16-cv-06293-FPG-MWP Document 53-11 Filed 05/03/19 Page 2 of 2



       Plaintiff states, in summary fashion, that all allegations contained in Defendant’s Local

Civil Rule 56(a)(2) Opposing Statement, including the “Appendix” thereto (collectively

“Opposing Statement”), Docket Number (“Dkt. No.”) 49-1, which purport to controvert or

otherwise dispute the facts set forth by Plaintiff in his Local Rule 56 Statement, Dkt. No.42-6,

are hereby denied. Plaintiff further states that all allegations made in Defendant’s Opposing

Statement are addressed in the reply Declaration of Peter J. Glennon, dated Mary 3, 2019.



Dated: Rochester, New York
       May 3, 2019                           THE GLENNON LAW FIRM, P.C.


                                             By:     Peter J. Glennon
                                             Peter J. Glennon, Esq.
                                             Laura K. Figueras, Esq.
                                             Attorneys for Plaintiff
                                             160 Linden Oaks
                                             Rochester, New York 14625
                                             (585) 210-2150
                                             PGlennon@GlennonLawFirm.com
                                             LFigueras@GlennonLawFirm.com

                                             Kimberly A. Glennon, Esq.
                                             Law Office of Kimberly A. Glennon
                                             Attorney for Plaintiff
                                             160 Linden Oaks
                                             Rochester, New York 14625
                                             585-389-6102
                                             KGlennon@GlennonEmploymentLaw.com
